883 F.2d 68Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bruce BAGLEY, Petitioner-Appellant,v.Talmadge BARNETT, Attorney General of North Carolina,Respondents-Appellees.
    No. 89-7023.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 30, 1989.Decided Aug. 8, 1989.
    
      Bruce Bagley, appellant pro se.
      Barry Steven McNeill Office of the Attorney General of North Carolina, for appellees.
      Before WIDENER, MURNAGHAN, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Bruce Bagley seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Bagley v. Barnett, C/A No. 88-638-D (M.D.N.C. Jan. 3, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    